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                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                           Case No. 06-cr-92-PB

Derrick Jennings, et al.


                                   O R D E R


     The defendant has moved to continue the March 6, 2007 trial

in the above case, citing the need for additional time to engage

in further plea negotiations.          The government and co-defendant

Samuel Ogot, do not object to a continuance of the trial date.

     Accordingly, to allow the parties additional time to

finalize a plea agreement or properly prepare for trial, the

court will continue the trial from March 6, 2007 to May 1, 2007.

In agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The court will hold a final pretrial conference on April 17,

2007 at 4:15 p.m.

      No further continuances.

      SO ORDERED.



                                          /s/Paul Barbadoro
                                          Paul Barbadoro
                                          United States District Judge

February 27, 2007

cc:   Michael Iacopino, Esq.
      Donald Kennedy, Esq.
      Terry Ollila, AUSA
      United States Probation
      United States Marshal




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